Case 3:11-cv-01703-MPS Document 340-3 Filed 10/03/18 Page 1 of 7




                 EXHIBIT B
                   Case 3:11-cv-01703-MPS Document 340-3 Filed 10/03/18 Page 2 of 7


 AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information. or Ob.1ccts or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                             for the
                                                                District of Connecticut

               CHRISTINA ALEXANDER, et al.,                                     )
----
                                Plaintiff                                       )
                                   V.                                           )        Civil Action No.         3:11-cv-1703-MPS
    ERIC D. HARGAN, Acting Secretary of Health and                              )
                        Human Services
              ···········••«••
                                                                                )       (Ir the action is pending in another district, state where:
                               Defendant                                        )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:     Kepro, Inc.


     ~ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects. and permit their inspection, copying, testing, or sampling of the
 material:
           See attached Exhibit A.



            Michelle Hale, Wilson Sonsini Goodrich & Rosati                               Date and Time:
            222 Delaware Avenue, Suite 800                                                                      02/05/2018 5:00 pm
            Wilmington, DE 19801

       • Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other prope1iy possessed or controlled by you at the time, date. and location set forth below, so that the requesting party
 may inspect. measure, survey. photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                 Date and Time:




          The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
 45 ( d) and ( e ). relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
 attached.


 Date:

                                   CLERK OF COURT
                                                                                             OR
                                                                                                                         /s/ Alice Bers
                                            Signature of Clerk or Deputy Clerk                                         Attorney's signature


The name, address, e-mail, and telephone number of the attorney representing (name ofparty!                                          CHRISTINA
.6LEXA.NP'=EL~Jc1L _ _ _ ····-···-· ..·······...                                                  , who issues or requests this subpoena, are:
 Alice Bers (abers@medicareadvocacy.org; 860-456-7790) P.O. Box 350, Willimantic, CT 06226
                  Case 3:11-cv-01703-MPS Document 340-3 Filed 10/03/18 Page 3 of 7


AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection or Premises in a Civil Actmn (Page 2)

Civil Action No. 3:11-cv-1703-MPS

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          This subpoena for (name         of individual ({lld title, if any)

was received by me on (dare)


          0 I served the subpoena by delivering a copy to the named person as follows:


                                                                                              011   (date)                            ; or

          0 I returned the subpoena unexecuted because:



          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day's attendance, and the mileage allowed by law, in the amount of
          $


My fees are$                                       for travel and $                            for services, for a total of$                 0.00



          I declare under penalty of pe1jury that this information is true.


Date:
                                                                                                    Server's signarure



                                                                                                Printed name and title




                                                                                                    Server's (le/dress


Additional information regarding attempted service, etc:
                   Case 3:11-cv-01703-MPS Document 340-3 Filed 10/03/18 Page 4 of 7


 AO 88B (Rev. 06/09) Subpoena lo Produce Documents, lnlormat1on, or Ob1ccts or to Permit lnspcct10n of Premises in a Civil Action(Pagc 3)




                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                    (d) Duties in Responding to a Sub1loena.
  (I) Avoiding Undue Burden or Expense; Smzctions. ;\ party or                      (1) Producing Documents or Electro11ically Stored Information.
attorney responsible for issuing and serving a subpoena must take                 These procedures apply lo producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                   stored infr1rmation:
person subjeet to the subpoena. The issuing court must enforce this                   (A) Documems. A person responding to a subpoena to produce
duty and impose an appropriate sanction       which may include lost              documents must produce them as they are kept in the ordinary
earnings and reasonable attorney's fees      on a party or attorney               course of business or must organize and label them to correspond to
who fails to comply.                                                              the categories in the d..:mand.
   (2) Command to Produce Materials or Permit Inspection.                             (B) Formji1r Producing Electronical!J 1 Stored !17fimnation i'Jot
   (A) Appearance :Vol Required. A person commanded to produce                    Specified. Ir a subpoena does not specif)" a form for producing
documents, electronically stored information. or tangible things, or              electronically stored information, the person responding must
to permit the inspection or premises, need not appear in person at the            produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                 in a reasonably usable fo1111 or forms.
for a deposition, hearing. or trial.                                                  (C) Electro11icalfv Stored Information Produced in Only One
   (B) Ohjections. ;\ person commanded to produce documents or                    Form. The p..:rson responding need not produce the same
tangible things or to permit inspection may serve on the party or                 electronically stored information in more than one fonn.
attorney designated in the subpoena a written objection to                            (D) Inaccessible Electronically Stored Information. The person
inspecting. copying, testing or sampling any or all of the materials or           r..:sponding need not provide discovery of electronically stored
to inspecting the premises      or to producing electronically stored             information from sources that the person identifies as not rca~onably
information in the form or forms requested. Th..: obj..:etion must be             accessible because of undue burden or cost. On motion to compel
served before the earlier orthe time specified for compliance or 14               discovery or for a protective order. the person responding must show
days after the subpoena is served. If an objection is made. the                   that the ii1formation is not reasonably accessible because of undue
following rules apply:                                                            burden or cost. I rthat showing is made, the court may nonetheless
     (i) At any time. on notice to the commanded person. the serving              order discovery from such sources if the requesting party shows
party may move the issuing court for an order ..:ompelling production             good cause. consiclcring the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                    court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and             (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party's                (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                       information under a claim that it is privileged or subject to
 (3) Quashing or Modifj•ing a Subpoena.                                           protection as trial-preparation material must:
   (A) When Required. On timely motion. the issuing court must                        (i) expressly make the claim; and
quash or modi!:; a subpoena that:                                                     (ii) describe the nature of the withheld documents.
     (i) fails to allow a reasonable time to comply:                              communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party's ofticer          revealing information itself privileged or protected. will enable the
to travel more than 100 miles from where that person resides, is                  parties to assess the claim.
employed. or regularly transacts business in person          except that.           (B) h1fimnation Produced. If information produced in response to a
subject to Rule 45(c)(3)(B)(iii). the person may be commanded to                  subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where            preparation material. the person making the claim may notify any
the trial is held:                                                                party that received the infrmnation of the claim and the basis for it.
     (iii) requires disclosure or privileged or other protected matter. if        Atler being notified. a party must promptly return. sequester, or
no exception or waiver applies; or                                                destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                      or disclose the information until the claim is resolved; must take
   (B) When ?ermilted. To protect a person subject to or affected by              reasonable steps to retrieve th..: information if the party disclosed it
a subpoena. the issuing court may, on motion. quash or modi!)" the                before being notified; and may promptly present the information to
subpoena if it requires:                                                          the court under seal for a determination of the claim. The person
     (i) disclosing a trade s..:cret or other confidential research.              who produced the information must preserve the information until
development. or commercial information:                                           the claim is resolved.
     (ii) disclosing an unretained expert"s opinion or information that
docs not describe specific occurrences in dispute and results from                (e) Contempt. The issuing court may hold in contempt a person
the expert's study that was not requested by a party: or                          who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party's officer to incur         subpoena.;\ nonparty's failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                subpoena purports to require the nonparty to attend or produce at a
   (C) Spec/fj 1i11g Conditions as an Alternalive. In the circumstances           place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may. instead of quashing or
moditYing a subpoena order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
    (ii) ensures that the subpoenaed person will be reasonably
compensated.
      Case 3:11-cv-01703-MPS Document 340-3 Filed 10/03/18 Page 5 of 7




                                             EXHIBIT A

                             DEFINITIONS AND INSTRUCTIONS

        The following definitions shall apply:

       A.        Except as otherwise specified, these definitions and instructions incorporate by
reference the definitions set forth in Federal Rules of Civil Procedure 26 and 45 and Local Civil
Rule 26( c ), 26( d), and 45 of the United States District Court for the District of Connecticut.

         B.     The terms ·'You," and "Your'' refer to Kepro, Inc. and its predecessors, and each
of its present and former officers, directors, agents, representatives, employees and affiliates.

       C.      "Medicare'' refers to the Centers for Medicare and Medicaid Services (CMS), a
component of the Department of Health and Human Services of the United States government,
and any and all of its agents, representatives, contractors, subcontractors, employees, servants,
consultants, investigators, attorneys, and any other persons or entities acting or purporting to act
on behalf of Medicare.

       D.     "Patient status reviews'' means reviews conducted to determine the
appropriateness of Medicare Part A payment for inpatient hospital claims.

        E.     ·'Two-Midnight Rule'' means the policies regarding patient status and inpatient
hospital admissions, including but not limited to the "2-midnight benchmark'' and the "2-
midnight presumption,'' described in the FY 2014 Hospital !PPS Final Rule, CMS-1599-F, as
amended by the CY 2016 Hospital OPPS Final Rule, CMS-1633-FC, and as described in other
guidance materials from Medicare.

          F.      '·Short stay" reviews means patient status reviews to determine the
appropriateness of Medicare Part A payment for short stay inpatient hospital claims under the
Two-Midnight rule, such as the reviews addressed in the CMS memo titled, "Reviewing Short
Stay Hospital Claims for·Patient Status: Admissions On or After January 1, 2016,'' available at:
https :// W\VW. cm s. gov /Rescnrch-Stati sti cs-Data-and-S vstem s/M on itori ng- Programs/Medi care-
F FS-Com p Iiance-Pro ;rra ms/!V1 cd ical-Rcv icw/Down Ioads/Rcv icwi ng-S hort-Stav- Hosp ita I-
CI aims-for-Pa ticnt-Sta tu s. pd f.

        G.      ·'Provider'' and "providers'' refers to organizations that meet the conditions of
Medicare participation to furnish to Medicare beneficiaries services including, without
limitation, inpatient hospitaL skilled nursing facility, home health, hospice, and outpatient
rehabilitation services.

        H.      The term ·'including'' means "including but not limited to."

        I.      "Relate to,'' ·'relating to,'' ·'concerning,'' ·'pertain," and "pertaining to,'' mean
consisting oJ: referring to, reflecting or arising out of, constituting, describing, evidencing or in
any way legally, logically, or factually connected with the matter discussed, directly or
      Case 3:11-cv-01703-MPS Document 340-3 Filed 10/03/18 Page 6 of 7




indirectly.

        J.     These document requests extend to all documents in the possession, custody, or
control of You and Your agents. In resp~mding to these requests, You should furnish not only
such information as is available to or possessed by You, but also such information as is known to
any of Your agents, representatives, employees, servants, consultants, contractors,
subcontractors, investigators, attorneys, and any other person or entity acting or purporting to act
on behalf of You.

        K.      If documents once in Your possession or control are requested or are the subject
of a request and such documents are no longer in Your possession or control, state when such
documents were most recently in Your possession or control, and what disposition was made of
them, including identification of the person or entity now in possession of or exercising control
over such documents. If the documents were destroyed, state when and where they were
destroyed, by whom they were destroyed, and identify the person(s) who directed or advised
their destruction.

        L.      If any documents contain identifying information of individual Medicare
beneficiaries, such as names, birthdates, Social Security numbers, or other information
implicating privacy interests, You may redact such information or submit the information
pursuant to the Protective Order for Information Protected by HIP AA, the Privacy Act, or
Otherwise Implicating Privacy Interests currently entered in this action. Documents may also be
submitted pursuant to the Protective Order for Proprietary Business Information and Trade
Secrets currently entered in this action.

       M.      In accordance with Local Rule 45 of the U.S. District Court for the District of
Connecticut, if You claim privilege for any document, You must prepare a privilege log in
accordance with Local Rule 26(e) to satisfy the requirements of Fed. Rule Civ. P. 45(e)(2).

        N.      If any pmiion of a document for which You claim a privilege contains non-
privileged information, You must produce the document but You may redact any alleged
privileged portion.

        0.      Unless expressly so stated, any separate instructions provided with an individual
request shall be considered as supplemental instructions only, and shall not relieve you of the
duty to respond in conformity with these instructions as well.

     P.      For communications sent to groups of persons, produce one sample of the
communication and a list of other persons who received the same communication.

                             DOCUMENTS TO BE PRODUCED

        1.     All guidance and instruction, including internal guidance generated by You or
guidance from Medicare, on how to conduct patient status reviews since October 1, 2015,
including but not limited to training materials, webinars, presentations, audio recordings, policy
memos, manuals, forms, clinical guidelines, screening guides, flowsheets, and checklists, and



                                                 2
      Case 3:11-cv-01703-MPS Document 340-3 Filed 10/03/18 Page 7 of 7




including any "re-training" materials that were used during or as a result of the suspension of
BFCC-QIO short stay reviews during 2016.

       2.       For patient status reviews conducted since October 1, 2015 in accordance with the
Two-Midnight Rule, all guidance for providers generated internally or by Medicare about such
reviews, including but not limited to training materials, webinars, manuals, forms, memoranda,
transmittals, fact sheets, manuals, webpages, frequently asked questions, presentations, audio
recordings, guidelines, checklists and flow sheets.

       3.      All currently applicable guidance, including internal guidance and guidance from
Medicare, about how to conduct hospital discharge appeals for Medicare beneficiaries pursuant
to 42 C.F.R. § 405.1206, including but not limited to training materials, webinars, presentations,
audio recordings, policy memos, manuals, forms, memoranda, transmittals, clinical guidelines,
screening guides, flowsheets, and checklists.

        4.    Complete records of all completed patient status reviews conducted in accordance
with the Two-Midnight Rule (also called short stay reviews) conducted from January 1, 2017
through March 31, 2017. The production should include, but is not limited to, reviews of the
medical records by Your reviewers and any result letter or letters issued to the provider for such
review.

        5.      All audio recordings, transcripts, notes, summaries, correspondence, or other
memorializations of "I on I provider education'' (as referenced in CMS's Memorandum on
"Reviewing Short Stay Hospital Claims for Patient Status: Admissions On or After January 1,
2016, available at: https://goo.gl/L77tK\:V) provided by You to providers that resulted from
patient status reviews conducted since October 1, 2015.




                                                3
